 UNITED STATES DISTRICT COURT
 FOR THE EASTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

                   –against–
                                                            NO. 15-CR-252 (PKC)

 ALFREDO HAWIT, et al.,

                       Defendants


                                NOTICE OF APPEARANCE

              Please take notice that the undersigned, of the law firm Paul, Weiss, Rifkind,

Wharton & Garrison LLP, is hereby entering an appearance on behalf of Interested Party

Fédération Internationale de Football Association (ECF Order Sept. 26, 2018).



Dated: May 7, 2019
       New York, New York


                                                   PAUL, WEISS, RIFKIND, WHARTON &
                                                   GARRISON LLP

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